              Case 1:23-mi-99999-UNA Document 2354-1 Filed 07/25/23 Page 1 of 8 E-FILED IN OFFICE - CB
                                                                                                            CLERK OF STATE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                                 23-C-04159-S3
                             IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                            6/16/2023 11:31 AM
                                                                                                            TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
Stacey Crawford

                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                   PLAINTIFF
                                                                                           23-C-04159-S3

                      VS.
Megabus Northwest LLC, d/b/a Megabus

289 S. Culver Street
 Lawrenceville, GA 30046-4805

                                   DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:

John E. Alday
Johnson & Alday, LLC
219 Roswell Street, NE
Marietta, GA 30060                                                                                                             121
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.

This     16th             day of            June                          , 2023

                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                        Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

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       Case 1:23-mi-99999-UNA Document 2354-1 Filed 07/25/23 Page 2 of 8 E-FILED IN OFFICE - CB
                                                                                          CLERK OF STATE COURT
                                                                                      GVVINNETT COUNTY, GEORGIA
                                                                                              23-C-04159-S3
                                                                                          6/16/2023 11:31 AM
                                                                                         TIANA P. GARNER,CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA


 STACEY CRAWFORD,

                              Plaintiff,
                                                            JURY TRIAL DEMANDED
 VS.
                                                                             23-C-04159-S3
 MEGABUS NORTEIEAST LLC,                                    CIVIL ACTION
 d/b/a MEGABUS,                                             FILE NO.

                              Defendant.


                                           COMPLAINT

        COMES NOW Stacey Crawford, "Plaintiff," and makes and files this complaint against

Defendant Megabus Northeast LLC,d/b/a Megabus,"Meagbus," respectfuly showing as follows:

                                 PARTIES AND JURISDICTION                •

                                                 1.

        Plaintiff Stacet Crawford submits himself to the jurisdiction ofthis court.

                                                 2.

        Defendant Megabus is a foreign corporation, authorized to operate under the laws of the

State of Georgia with its principal place of business located at 349 First Street, Elizabeth, NJ

07026-4010, and is authorized to transact business in the State of Georgia, and may be served by

delivering a copy ofthe summons and complaint to its registered agent, CT Corporation System,

289 S Culver St, Lawrenceville, Gwinnett County, GA, 30046-4805, and is subject to the

jurisdiction of this court.

                                                 3.

        Jurisdiction and venue are proper in this court.
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                                         BACKGROUND

                                                     4.

        On or about March 13, 2022, plaintiff was traveling on a bus owned and operated by

Megabus.

                                                     5.

        On or about March 13, 2022,the Megabus plaintiff was traveling from New Orleans, LA

to Atlanta, GA.

                                                    6.

        On or about March 13,2022,Megabus allowed one ofits buses to transport passengers like

plaintiff in a negligent, improper, and unsafe manner.

                                                     7.

        On or about March 13,2022, while plaintiff was on the bus and the bus was traveling down

the highway,the bus caught fire.

                                                     8.

        The driver of the Megabus plaintiff was aboard on or about March 13, 2022 was an

employee, agent, or otherwise working for Megabus.

                                                    9.

        When the driver pulled the bus over, he or she failed to safely escort passengers off the

bus, causing plaintiff to sustain serious injury.

                                                    10.

        Megabus failed to have appropriate measures in place to protect the safety ofits passengers

when situations like this arose, and therefore breached its duty of care owed to the passengers.




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    Case 1:23-mi-99999-UNA Document 2354-1 Filed 07/25/23 Page 4 of 8




            COUNT I — NEGLIGENCE WITH THE UNDERLYING VEHICLE

                                                11.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

10 above as iffully restated.

                                                12.

       Defendant owed a duty to exercise due care while performing repair, inspection, and

maintenance work on the Megabus and to complete that work in a safe and proper manner.

                                                13.

       Defendant breached those duties and, therefore, was negligent.

                                                14.

       Defendant's negligence is the sole and proximate cause of the bus fire that occurred on

March 13, 2022,and Plaintiffs resulting injuries and damages.

                  COUNT II— NEGLIGENCE AS TO THE AFTERMATH

                                                15.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

14 above as if fully restated.

                                                16.

       On or about March 13,2022,Defendant either had no policies or procedures for emergency

ingress or egress off their vehicles or those policies or procedures were woefully inadequate.

                                                17.

       As a result of this lack of proper procedures, plaintiff was pinned down and trampled as

passengers fled the bus.




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                                                 18.

        Defendant is responsible for the actions of its driver in regard to the events described in

this complaint under the doctrine of respondeat superior and/or agency.

            COUNT III — NEGLIGENT HIRING,TRAINING & SUPERVISION

                                                19.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

18 above as if fully restated.

                                                20.

       Defendant was negligent in hiring its driver on this route and entrusting him or her to

perform repairs, inspections, and maintenance on motor vehicles as well as any other Megabus

personnel entrusted to do this work.

                                                21.

       Defendant was negligent in failing to properly train its drivers and other personnel.

                                                22.

       Defendant was negligent in failing to properly supervise its drivers and other personnel.

                                                23.

       Defendant's negligence in hiring its personnel and entrusting them to perform repairs on

motor vehicles, inspection on motor vehicles, maintenance on motor vehicles, and safely

conducting passengers offthe bus in a situation such as this, and failing to train and supervise him

properly was the sole and proximate cause of the incident on March 13, 2022, and Plaintiff's

resulting injuries and damages.




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                                   COUNT IV — DAMAGES

                                               24.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

22 above as if fully restated.

                                               25.

       As a result of Defendant's negligence, Plaintiff suffered severe injuries that required

extensive treatment.

                                               26.

       As a result of Defendant's negligence, Plaintiff has incurred past medical expenses of at

least $52,343.19.

                                               27,

       As a result ofDefendant's negligence, Plaintiff incurred lost wages of at least $9,600.

                                               28.

       Defendant's negligence is the sole and proximate cause ofPlaintiff's injuries and damages.




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        WHEREFORE, Plaintiff prays that se has a trial on all issues and judgment against

 Defendants as follows:

        a.     That Plaintiffrecover the full value of his past medical expenses and lost wages in

               an amount to be proven at trial;

        b.     That Plaintiff recover for physical and mental pain and suffering in an amount to

               be determined by the enlightened conscience ofajury; and

        c.     That Plaintiff recover such other and further relief as is just and proper


        This 16th     day of June 2023.

                                                      JOHNSON & ALDAY,LLC



                                                      John E. day
                                                      Geor State Bar No. 298669
                                                      R      D. Johnson        ,
                                                      G rgia Bar No. 125305
                                                      Attorneys for Plaintiffs

 219 Roswell St, NE
 Marietta, GA 30060
(678)967-4040
(678)400-2233 (fax)
  ohn@johnsonalday.com
 bobbygohnsonalday.com




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                            Case
                 SHERIFFS ENTRY     1:23-mi-99999-UNA
                                OF SERVICE                                 Document 2354-1 Filed 07/25/23 Page
                                                                                 SC-85-2                        8CASTLEBERRY
                                                                                                            CLYDE  of 8 CO.,COVINGTON,GA 30015
                                                                                                        Superior Court             0          Magistrate Court            0
                 Civil Action No. 2:\            --C —             sct                                  State Court                111."*     Probate Court               I=1
                                                                                                        Juvenile Court             0
                 Date Filed            "Ltvv \L mv)                                                            GU.)i INIA tA V
                                                                                                        Georgia,                                             COUNTY

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                  Attorney's Address
    la\Y‘Sorl                          c.
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              enck ‘                                                                                                                   VS.
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                                           )0060
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                  Name and Address of Party to be Served.
                                                                                                        N/ Wok *Mec.,c1bu
                  Cl    or0 otckkvi                                                                                                                              Defendant

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                                                                                                                                                                 Garnishee
                                                                         SHERIFF'S ENTRY OF SERVICE
PERSONAL




                 I have this day served the defendant                                                                                                  pers'onally with a copy
             O    of the within action and summons.




                 I have this day served the defendant                                                                                                            by leaving a
NOTORIOUS




                 copy of the action and summons at his most notorious place of abode in this County.

             O    Delivered same into hands of                                                                                                          described as follows:
                  age, about                years; weight                 pounds; height, about                    feet and              inches, domiciled at the residence of
                 defendant.


                                                                           t
                 Served the defendant         (aCk 6,4 4                  /I    I    Ir‘t   6 54 ( L                                                            a corporation
            \
            of by leaving a copy of the within actio.n and summons with              16
                                                                                      ..     f-    11     io f". r- Se / 1
            /‘ in charge of the office and place of doing business of said Corporation in this County.

              I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
              affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the
            • defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
              place stated in the summons.




co            Diligent search made and defendant
            0 not to be found in the jurisdiction of this Court.
0


                  This •••••-- LI day of           k            ,20    7C

                                                                                                                                rirj /            56,
                                                                                                                                                                   DEPUTY




                 SHERIFF DOCKET                   PAGE- •    —


                                                                 WHITE-CLERK   CANARY-PLAINTIFF   PINK-DEFENDANT
